
692 S.E.2d 875 (2010)
STATE of North Carolina
v.
Billy J. TROMBLEY.
No. 345P09.
Supreme Court of North Carolina.
January 28, 2010.
Robert C. Montgomery, Special Deputy Attorney General, for State of North Carolina.
Anne Bleyman, for Billy J. Trombley.

ORDER
Upon consideration of the petition filed by State of NC on the 24th of August 2009 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 28th of January 2010."
Upon consideration of the petition filed on the 24th of August 2009 by State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 28th of January 2010."
